                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                    AT GREENEVILLE

VICTOR CAIN,                                 )
                                             )
        Defendant/Petitioner,                )
                                             )
v.                                           )       No. 2:09-CR-31 (23)
                                             )          (2:13-CV-12)
UNITED STATES OF AMERICA,                    )
                                             )
        Respondent.                          )


                                 MEMORANDUM AND ORDER

        Defendant/Petitioner, Victor Cain, has filed a motion to vacate, set aside, or correct his

sentence under 28 U.S.C. § 2255, arguing that his sentence should be reduced under the Fair

Sentencing Act [Doc. 1147].

        On December 31, 2009, Petitioner signed a plea agreement with the United States in

which he pleaded guilty to conspiring to distribute and to possess with the intent to distribute 50

or more grams of crack cocaine. 1 The United States Probation Office reported that Petitioner

was responsible for distributing 240.4 grams of crack. 2 Petitioner’s criminal history was

extensive, and United States Probation Office classified him as a Career Offender within the

meaning of § 4B1.1(b) of the 2009 version of the United States Sentencing Guideline Manual.

After a three-level reduction in his offense level due to acceptance of responsibility, his total

offense level was 34.




        1
            Doc. 319
        2
            Presentence Report ¶ 23


     Case 2:09-cr-00031-DCLC-CRW         Document 1312          Filed 10/29/15     Page 1 of 3
                                        PageID #: 4771
       As far as the Guidelines were concerned, the sentencing range was 262 to 327 months. 3

However, because he had two prior felony convictions for drug offenses, the United States filed

an information pursuant to 21 U.S.C. § 851 that Petitioner was subject to a mandatory minimum

sentence of life under 21 U.S.C. § 841(b). 4

       Prior to sentencing, the United States moved to dismiss its § 851 Notice with respect to

one of the prior enhancing convictions, as a result of which Petitioner’s statutory sentence

became 20 years to life. 5

       On September 17, 2010, the Court sentenced Petitioner to the statutory minimum, 20

years, which was a variance of 22 months below the bottom of the guideline range. 6

       On August 3, 2010, the Fair Sentencing Act became law, and the base penalty for

distributing 240.4 grams of crack was reduced to 5 to 40 years, which would be enhanced to 10

years to life due to Petitioner’s prior felony conviction. 7 In Dorsey v. United States, 132 S. Ct.

2321 (2012), the Supreme Court held that the lower statutory penalties under the Fair Sentencing

Act should apply to persons whose offenses were committed before August 3, 2010 but who

were sentenced thereafter, id., at 2335. Petitioner therefore is potentially entitled to receive the

benefit of the lower statutory penalties, which the government concedes. 8

       The Fair Sentencing Act of course had no effect on Petitioner’s guideline range; as a

Career Offender under the Guidelines, his range remains 262 to 327 months.




       3
         Presentence Report ¶ 82
       4
         Doc. 316
       5
         Doc. 588
       6
         Judgment, Doc. 756
       7
         The term of supervised release was reduced from 10 or more years to 8 years.
       8
         Government’s response, Doc. 1254. The government also waived reliance on the statute
       of limitations.
                                                 2

  Case 2:09-cr-00031-DCLC-CRW             Document 1312         Filed 10/29/15      Page 2 of 3
                                         PageID #: 4772
        In his § 2255 motion, Petitioner asserts that this Court should reconsider his sentence and

determine if it would have imposed a lesser sentence upon him in light of the lower statutory

minimum sentence established by the Fair Sentencing Act.

        Even after the Fair Sentencing Act’s reduction in the penalties for crack cocaine offenses,

Petitioner’s current sentence is within the new statutory sentencing range, and of course it is

below the bottom of his Guideline range. Nevertheless, recalling that this court initially believed

that a 22-month variance to the statutory minimum as it then existed was warranted, the court

believes that in view of the new statutory minimum, another sentencing hearing should be held to

determine if a further variance is justified.

        Petitioner’s §2255 motion, doc. 1147, is GRANTED. A new sentencing hearing will be

scheduled by separate order. Attorney Sandra Jelovsek is RE-APPOINTED to represent

petitioner in that sentencing hearing and all matters related thereto. The clerk is directed to so

notify attorney Jelovsek. Federal Defender Services is relieved of any further responsibility in

this case.



        SO ORDERED:


                                                   s/ R. Leon Jordan
                                                United States District Judge




                                                 3

  Case 2:09-cr-00031-DCLC-CRW              Document 1312         Filed 10/29/15     Page 3 of 3
                                          PageID #: 4773
